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 Fill in this information to identify your case:

 United States Bankruptcy Court for the:

 DISTR ICT OF COLORA DO

 Case number /if known/                                                     Chapter      11
                            ----------------
                                                                                                                         O   Check if this an
                                                                                                                             amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                             4/16

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.    Debtor's name                Willowood USA Holdings, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names


3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                    Mailing address, if different from principal place of
                                                                                                 business

                                  1350 17th Street, Suite 206                                    PO Box 740958
                                  Denver, CO 80202                                               Arvada, CO 80006
                                  Number, Street, City, State & ZIP Code                         P.O. Box, Number, Street, City, State & ZIP Code

                                  Denver                                                         Location of principal assets, if different from principal
                                  County                                                         place of business

                                                                                                 Number. Street, City, State & ZIP Code


5.   Debtor's website (URL)       willowoodusa.com


6.   Type of debtor               • Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                  O   Partnership (excluding LLP)
                                  O   Other. Specify:




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 Debtor      Willowood USA Holdings, LLC                                                                   Case number (il known)
             Name                                                                                                                   ---------------

 7.    Describe debtor's business       A. Check one:
                                        D     Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                        D     Single Asset Real Estate (as defined in 11 U.S.C. § 101 (518))
                                        D     Railroad (as defined in 11 U.S.C. § 101 (44))
                                        D     Stockbroker (as defined in 11 U.S.C. § 101 (53A))
                                        D     Commodity Broker (as defined in 11 U.S.C. § 101 (6))
                                        D    Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                        • None of the above

                                        B. Check all that apply
                                        D Tax-exempt entity (as described in 26 U.S.C. §501)
                                        D Investment company, including hedge fund or pooled investment vehicle              (as defined in 15 U.S.C. §BOa-3)
                                        D Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11 ))

                                        C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                           See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                   5511

8.    Under which chapter of the        Check one:
      Bankruptcy Code is the            D  Chapter 7
      debtor filing?
                                        D    Chapter 9

                                        • Chapter 11. Check all that apply:
                                                               D   Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                   are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                               D   The debtor is a small business debtor as defined in 11 U.S.C. § 101 (51 D). If the debtor is a small
                                                                   business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                   statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                   procedure in 11 U.S.C. § 1116(1 )(B).
                                                               D   A plan is being filed with this petition.
                                                               D   Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                   accordance with 11 U.S.C. § 1126(b).
                                                               D   The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                   Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                   attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                   (Official Form 201A) with this form.
                                                               D   The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                        D   Chapter 12



9.    Were prior bankruptcy             • No.
      cases filed by or against
      the debtor within the last 8      D   Yes.
      years?
      If more than 2 cases, attach a
      separate list.                               District                                When                                Case number
                                                              ----------                            --------
                                                   District
                                                              ---------- When                       --------                   Cas e number


10. Are any bankruptcy cases            • No
      pending or being filed by a
      business partner or an            D   Yes.
      affiliate of the debtor?
      List all cases. If more than 1,
      attach a separate list                       Debtor                                                                    Relationship
                                                              ---------------------
                                                   District
                                                              ---------- When -------- Case number, if known


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 Debtor      Willowood USA Holdings, LLC                                                                Case number {il known)
             Name


 11.    Why is the case filed in    Check all that apply:
        this district?
                                    •      Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                           preceding the date of this petition or for a longer part of such 180 days than in any other district.

                                    D      A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


 12.   Does the debtor own or       • No
       have possession of any
       real property or personal    D Yes.      Answer below for each property that needs immediate attention. Attach additional sheets if needed.
       property that needs
       immediate attention?                     Why does the property need immediate attention? (Check all that apply.)

                                                D   lt poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                    What is the hazard?

                                                D   lt needs to be physically secured or protected from the weather.

                                                D     lt includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                    livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).

                                                D   Other
                                                Where is the property?
                                                                                  Number, Street, City, State & ZIP Code
                                                Is the property insured?
                                                O   No
                                                D   Yes.    Insurance agency
                                                            Contact name
                                                            Phone



            Statistical and administrative information

13.    Debtor's estimation of               Check one:
       available funds
                                            D   Funds will be available for distribution to unsecured creditors.

                                            • After any administrative expenses are paid, no funds will be available to unsecured creditors.


14.    Estimated number of         • 1-49                                             D 1,000-5,ooo                              D 25,001-50,000
       creditors                                                                      D 5001-10,000                              D 50,001-100,000
                                   D 50-99
                                   D 100-199                                          D 10,001-25,ooo                            D More than100,000
                                   D 200-999

15.    Estimated Assets            D $0 - $50,000                                     D $1,000,001   - $10 million               D $500,000,001 - $1 billion
                                   D $50,001 - $100,000                               • $10,000,001 - $50 million                D $1,000,000,001 - $1 O billion
                                   D $100,001 - $500,000                              D $50,000,001 - $100 million               D $10,000,000,001 - $50 billion
                                   D $500,001 - $1 million                            D $100,000,001 - $500 million              D More than $50 billion

16.    Estimated liabilities       D $0 - $50,000                                    D $1,000,001    - $10 million               D $500,000,001 - $1 billion
                                   D $50,001 - $100,000                              • $10,000,001 - $50 million                 D $1,000,000,001 - $10 billion
                                   D $100,001 - $500,000                             D $50,000,001 - $100 million                D $10,000,000,001 - $50 billion
                                   D $500,001 - $1 million                           D $100,000,001 - $500 million               D More than $50 billion




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                                                                                                                             Case number (,r known)
Debtor    .W Ulowood USA H(?_ldii::!g~~c ----------
          Name




WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500.000 or
           imprisonment for up to 20 years. or both. 18 U.S.C. §§ 152, 1341, 1519. and 3571.

17. Declaration and signature
    of authorized                  The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                   I have been authorized to file this petition on behalf of the debtor.

                                   I have examined the infonmation in this petition and have a reasonable belief that the information is trued and correct.

                                   I declare under penalty of perjury that the foregoing is true and correct.

                                   Executed on                Feb~ry~ 5, 2019 _



                             X          - £}/(m - .
                                  Signature of authorized repre entative of debtor
                                                                                                                                   Thomas M. Kim
                                                                                                                                   Printed name-·

                                  Title       _Ç.!lj_~f Restructuring__Qffice_!'


           ------------ --~--------------·--------------------------                                                                                             -- -- ---

18. Signature of attorney    X          ¡,i1ß_                 p~
                                  Signature of attorney for debtor
                                                                                                                                    Date    February 15, 2019
                                                                                                                                            MM / DD / YYYY   -

                                   Michael J. Pankow
                                 ··Printëd na.ñië- -- --                 -- ---- - -· - - -- -
                                  Brownstein Hyatt Farber Schreck, LLP
                                 -Firm name                .. -·-·     -----                   .    -    "    -


                                  410 Seventeenth Street, Suite 2200
                                  Denver, CO 80202
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                                                                                       P-,C=-o-d,...e-
                                                                                                                  -------------·-- ---- --------

                                  Contact phone                (303) 223-1100                                Email address   mpankow@bhfs.com


                                  21212CO
                                  Bar number and State




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